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                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION


UNITED STATES OF AMERICA                                                                 PLAINTIFF

vs.                                       NO. 4:12CR00014-021    SWW

ASHTON WARNER                                                                            DEFENDANT

                                                  ORDER

        The above entitled cause came on for hearing April 25, 2017 and concluded April 26, 2017 on

government=s petition to revoke the probation previously granted this defendant in the United States

District Court for the Eastern District of Arkansas.   Based upon the evidence, testimony and statements

on the record, the Court found that defendant has violated the conditions of probation without just cause.

        IT IS THEREFORE ORDERED AND ADJUDGED that the probation previously granted this

defendant, be, and it is hereby revoked, granting government’s motion [doc #740].

        IT IS FURTHER ORDERED that defendant shall serve a term of imprisonment of ELEVEN

(11) MONTHS in the custody of the Bureau of Prisons. The Court recommends that defendant’s serious

health issues be evaluated and treated.        The Court also recommends that defendant participate in

residential substance abuse treatment during incarceration.

        There will be NO supervised release to follow.

        The defendant is remanded to the custody of the U. S. Marshal.

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      IT IS SO ORDERED this 26 day of April 2017.

                                                          /s/Susan Webber Wright
                                                          United States District Judge
